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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

CELINA LEDESMA, MAURICIO DIAZ,
MANUEL DE JESUS ALFARO, JUAN               Case No. 2:11-CV-00359-CEH-DNF
JIMENEZ, and DANIEL MENDOZA,
                                           DISPOSITIVE MOTION
        Plaintiffs,

v.

HIGHLAND WOODS GOLF & COUNTRY
CLUB, INC.,

        Defendant.


       DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT AND
                INCORPORATED MEMORANDUM OF LAW




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       DEFENDANT’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT AND
                INCORPORATED MEMORANDUM OF LAW

        Defendant, HIGHLAND WOODS GOLF & COUNTRY CLUB, INC. (“Highland

Woods”), hereby moves this Honorable Court, pursuant to Fed. R. Civ. P. 12(b)(6) for an order

dismissing the Complaint filed by Plaintiffs, CELINA LEDESMA, MAURICIO DIAZ,

MANUEL DE JESUS ALFARO, JUAN JIMENEZ, and DANIEL MENDOZA [Dkt. # 1], and in

support thereof states:

        1.      On June 27, 2011, Plaintiffs filed a thirteen (13) count Complaint alleging various

causes of action against Highland Woods.

        2.      Counts I through IV are brought by Plaintiff CELINA LEDESMA (“Ledesma”)

against Highland Woods under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, et.

seq. (“Title VII”), and the Florida Civil Rights Act of 1992, Fla. Stat. §760.01, et. seq. (the

“FCRA”).

        3.      Counts V through XIII are brought on behalf of each Plaintiff alleging actions

based on Title VII, the Florida Civil Rights Act, 42 U.S.C. § 1981, and the Fair Labor Standards

Act.

        4.      Each claim is deficient for the reasons detailed below and the Complaint should

be dismissed in its entirety.

        5.      Additionally, as shown in the memorandum of law incorporated below, it would

be futile to allow Plaintiffs to amend the Complaint as the deficiencies cannot be corrected.

I.      INTRODUCTION

        Highland Woods is an equal opportunity employer that has in place and follows a number

of policies of non-discrimination and anti-harassment. Additionally, Highland Woods prides

itself on the fact that is provides generous benefits to its employees not offered by its


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competitors, such as providing a hot meal and paying employees for their lunch break. When

Highland Woods learned that one of its employees was claiming to be unhappy with certain

aspects of her employment, it undertook a thorough investigation. That investigation revealed

that the employee, Plaintiff Ledesma was engaging in a pattern of improper conduct designed to

undermine her supervisor, in what her fellow co-workers described as an effort to obtain his job.

Those co-workers claimed that Ledesma treated them unfairly and that she was manipulating

other employees to support her unfounded claims.

        When Highland Woods learned the full extent of Ledesma’s improper conduct, she was

promptly terminated. Shortly thereafter, Highland Woods received notification from its payroll

processing vendor that several of its employees, including Plaintiffs JUAN JIMENEZ

(“Jimenez”) and DANIEL MENDOZA (“Mendoza”), were identified by a governmental

agency—either the Social Security Administration or the Internal Revenue Service—as having a

discrepancy with the social security numbers they had provided to Highland Woods. Jiminez and

Mendoza were provided copies of the notifications received by Highland Woods and asked to

look into the discrepancy. The employees were not terminated nor was there any suggestion that

the individuals were not to return to work; however, neither Jiminez nor Mendoza ever returned

to Highland Woods. Just a few days after Jiminez and Mendoza voluntarily resigned, Plaintiff

MANUEL DE JESUS ALFARO (“De Jesus Alfaro”) also resigned.

        Perhaps not coincidentally, each of the Plaintiffs now seek to hold Highland Woods

responsible for what they claim to be improper treatment on the basis of their sex, race, and/or

national origin. Plaintiffs also attempt to state claims for retaliation. As set forth more fully

below, even construing the facts alleged in the light most favorable to Plaintiffs at this stage, they

fail to state claims upon which relief can be granted under any of the statutory authority relied



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upon. Accordingly, this Court should dismiss all thirteen counts of Plaintiffs’ Complaint with

prejudice.

II.     ALL CLAIMS BROUGHT BY PLAINTIFF MAURICIO DIAZ MUST BE
        DISMISSED BECAUSE HE WAS NOT AN EMPLOYEE OF DEFENDANT.

        Plaintiff MAURICIO DIAZ (“Diaz”) attempts to bring various claims in Counts V

through XIII, each of which are related to his purported employment by Highland Woods. Diaz

claims to have worked as a golf course maintenance employee at Highland Woods from

approximately May 16, 2008 through August 2, 2010. Complaint, ¶ 27. Between January 2008

and December 2010, Highland Woods did not employ any individual named Mauricio Diaz.

Declaration of William J. Clark (hereinafter “Declaration of Clark”), ¶ 10, attached hereto as

Exhibit “1.”

        In the Complaint, Diaz nonchalantly implies that he may have been employed by

Highland Woods under a different name—Melsar Acuna—yet he fails to go so far as to actually

make that assertion. Complaint, ¶ 13. Nor does he explain who the individual calling himself

Diaz (or Acuna) really are, or how he or they came to have multiple identities, if such individuals

ever existed. Plaintiff “Diaz” simply says that he received a “Right to Sue” letter issued by the

EEOC under the name “Melsar Acuna.” Id. Noticeably absent from the Complaint is any attempt

to explain a link between the names Mauricio Diaz and Melsar Acuna that would be sufficient to

allow Diaz to proceed with his claims which require exhaustion of administrative remedies prior

to filing suit, when any attempted exhaustion of those remedies was done under a different

identity. Because either “Melsar Acuna” or “Mauricio Diaz” (or both) are false identities, the

EEOC Charge purportedly signed under penalties of perjury is a nullity and must be ignored

when considering whether Plaintiff Diaz properly exhausted any of his administrative remedies.




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        In the absence of a legal name change or other plausible link between the defendant Diaz

and Highland Woods’ actual employee, Melsar Acuna, Diaz cannot maintain any claims against

Highland Woods for alleged wrongdoing during an employment relationship that did not exist.

Basic logic dictates that in order to maintain a cause of action for employment discrimination,

retaliation, or FLSA violations, one must actually have been an employee of the defendant.

Because Diaz cannot show that he was an employee of Highland Woods, he cannot maintain any

of the claims he has attempted to allege in Counts V through XIII, and those claims must be

dismissed as to Diaz.

III.    PLAINTIFFS MAURICIO DIAZ, MANUEL DE JESUS ALFARO, JUAN
        JIMENEZ, AND DANIEL MENDOZA FAILED TO EXHAUST THEIR
        ADMINISTRATIVE REMEDIES FOR ALL CLAIMS BROUGHT PURSUANT
        TO THE FLORIDA CIVIL RIGHTS ACT.

        In Counts VI and XI, Plaintiffs Diaz, Alfaro, Jimenez, and Mendoza each attempt to

assert claims against Highland Woods for violations of the FCRA. None of the individuals allege

that they filed charges with the Florida Commission on Human Relations (the “Florida

Commission”)—in fact, each explicitly alleges that he only filed a charge with the EEOC.

Complaint, ¶ 96.

        Before bringing a lawsuit for violations of the FCRA, employees are first required to

exhaust all of their administrative remedies. Fla. Stat. §760.11 (2011); Williams v. Eckerd Family

Youth Alternative, 908 F. Supp. 908, 910 (M.D. Fla. 1995). Alfaro, Jimenez, and Mendoza each

filed charges with the EEOC in August 2010, but did not “dual file” those charges with the

Florida Commission. Diaz did not file a charge with either the EEOC or the Florida Commission.

Copies of the charges filed by Alfaro, Jimenez, and Mendoza are attached to the Declaration of

Clark as Exhibits “A,” “B,” and “C,” respectively. The charge filed by “Melsar Acuna,” which

resulted in the issuance of a Right to Sue letter by the EEOC to a person of that same name and


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upon which Diaz wrongfully bases his claims in this lawsuit, is attached to the Declaration of

Clark as Exhibit “D.”

        When initiating a charge with the EEOC, the form allows for “dual filing” with any state

or local agency the charging party desires to proceed before with his claims. It is the charging

party’s choice whether to initiate a federal claim (by filing with the EEOC), a state claim (in this

case by electing to file with the Florida Commission), or both. This Court has recognized that the

process of doing so “is relatively simple in Florida.” Armstrong v. Lockheed Martin Beryllium,

990 F. Supp. 1395, 1400 (M.D. Fla. 1997). The failure of a plaintiff to affirmatively indicate his

intention to initiate the administrative process before the Florida Commission when filing an

EEOC charge is fatal to a later-filed lawsuit alleging wrongdoing under the FCRA. Id. (“to

initiate the administrative process of both agencies effectively, the complainant must

affirmatively indicate the intention to do so, and the failure … to do so … is fatal to [a] state

claim”).

        A review of the charges filed by these four Plaintiffs shows that none of them properly

initiated a claim with the Florida Commission, as they each left blank the portion of the form in

which the state or local agency with which they desire the charge to be dually filed. See Exhibits

“A,” “B,” “C,” and “D” to the Declaration of Clark. Because Diaz, Alfaro, Jimenez, and

Mendoza each failed to initiate the administrative process required before asserting any claims of

wrongdoing under the FCRA, they have failed to exhaust their administrative remedies before

proceeding with court action and therefore Counts VI and XI must be dismissed as to those four

Plaintiffs.




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IV.     LEDESMA FAILED TO EXHAUST HER ADMINISTRATIVE REMEDIES
        PRIOR TO BRINGING SUIT IN COUNTS II AND IV UNDER THE FLORIDA
        CIVIL RIGHTS ACT.

        Likewise, Counts II and IV of the Complaint brought by Ledesma alleging violations of

the FCRA must be dismissed. Ledesma does not allege that she properly exhausted her

administrative remedies with the Florida Commission prior to bringing this lawsuit. In fact,

Ledesma specifically alleges that she filed a Charge of Discrimination only with the EEOC.

Complaint, ¶ 86. Counts II and IV of the Complaint are therefore devoid of the necessary factual

allegations that Ledesma exhausted the required administrative process prior to filing this

lawsuit.

        Furthermore, it is clear that Ledesma should not be granted leave to amend, as she is

unable to timely initiate the required action with the Florida Commission. In order to do so,

Ledesma was required to file a verified complaint within 365 days of the alleged violation. Fla.

Stat. §760.11(1). The charge Ledesma filed with the EEOC is not verified as required by Florida

law. To verify a complaint, one must either (1) take an oath or affirmation before a judge, clerk

or deputy clerk of any court of record in Florida or any notary public within Florida; or (2) sign

the following written declaration and the end of the document to be verified: “Under penalties of

perjury, I declare that I have read the foregoing [document] and that the facts stated in it are

true.” Fla. Stat. §92.525(1).

        While the Charge of Discrimination signed by Ledesma indicates at the top of the form

an intention to file with both the EEOC and the Florida Commission, Ledesma failed to properly

verify the complaint. See Exhibit “E” to the Declaration of Clark. Ledesma neither had the

complaint verified by an appropriate judicial officer or notary public in the space available at the

bottom right of the form, nor did she execute the declaration in that same location of the form

stating that she read the charge and that the facts are true and correct. Because Ledesma failed to

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verify her complaint, she did not properly initiate the administrative process with respect to the

claims of wrongdoing she alleges under the FCRA and she is therefore barred from bringing

Counts II and IV of the Complaint.

V.      PLAINTIFFS FAIL TO STATE CLAIMS UNDER THE FAIR LABOR
        STANDARDS ACT (COUNTS VIII, IX, AND XIII).

        In Count VIII, Plaintiffs attempt to state a claim for violation of the minimum wage

provisions of the Fair Labor Standards Act (the “FLSA”). Similarly, in Count IX, Plaintiffs

attempt to allege a claim for violation of the overtime provisions of the FLSA. In Count XIII,

Plaintiffs attempt to state a claim for violation of the FLSA’s anti-retaliation provisions.

However, Plaintiffs have failed to plead sufficient factual allegations upon which this Court can

determine that any FLSA violations are plausible. Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949

(2009). Although the pleading standard required by Iqbal and Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007), “does not require ‘detailed factual allegations,’” Iqbal, 129 S. Ct. at 1947

(quoting Twombly, 550 U.S. at 555), it does require “more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555.

“The mere possibility the defendant acted unlawfully is insufficient to survive a motion to

dismiss.” Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1261 (11th Cir. 2009) (citing Iqbal, 129

S. Ct. at 1949).

        Allegations in a complaint that “are no more than conclusions, are not entitled to the

assumption of truth” in the plaintiff’s favor. Iqbal, 129 S. Ct. at 1950; see also Sinaltrainal, 578

F.3d at 1260 (stating that “‘unwarranted deductions of fact’ in a complaint are not admitted as

true for the purpose of testing the sufficiency of plaintiff’s allegations.”). In Counts VIII and IX,

Plaintiffs simply recite the basic elements of the cause of action and fail to include allegations of

specific facts that would give rise to either a minimum wage or overtime violation of the FLSA,


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let alone justify enterprise coverage under the FLSA. Plaintiffs simply allege that “Highland

Woods is an enterprise engaged in commerce.” Complaint, ¶ 202. Plaintiffs further allege

conclusions such as Plaintiffs were not fully paid for all of their hours worked, Complaint, ¶¶ 56,

205, and that Plaintiffs were not paid for all of their hours of overtime worked in excess of 40

hours, Complaint, ¶¶ 57, 213. These statements are nothing more than “‘naked assertion[s]’

devoid of ‘further factual enhancement’” which simply do not suffice. Iqbal, 129 S. Ct. at 1949

(quoting Twombly, 550 U.S. at 557).

        A.      Plaintiffs’ FLSA coverage allegations are insufficient.

        FLSA coverage is a threshold issue. Plaintiffs appear to rely upon the theory of enterprise

coverage, as there are no allegations in the Complaint that any individual employees were

engaged in interstate commerce. Enterprise coverage is triggered when an employer

                (i) has employees engaged in commerce or in the production of goods for
                commerce, or that has employees handling, selling, or otherwise working
                on goods or materials that have been moved in or produced for commerce
                by any person; and (ii) is an enterprise whose annual gross volume of sales
                made or business done is not less than $500,000)….

29 U.S.C. § 203(s)(1)(A). In the Complaint, Plaintiffs’ sole allegation regarding enterprise

coverage states only that that Highland Woods is an enterprise engaged in commerce. Complaint,

¶ 202. Plaintiffs make no factual allegations supporting this naked assertion and conclusion. The

Court cannot accept the sole allegation directed toward the threshold matter of enterprise

coverage as true and must therefore dismiss each of Plaintiffs’ FLSA based claims in Counts

VIII, IX, and XIII.

        B.      Plaintiffs make insufficient allegations of unpaid wages.

        Noticeably absent from the Complaint are any allegations by any Plaintiff as to when the

wrongdoing allegedly occurred (other than a reference to wrongdoing occurring during the

potentially applicable limitations period of three years in paragraphs 205 and 213 of the

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Complaint). Also missing are any factual allegations with any attempt to approximate the

number of hours Plaintiffs claim they were not properly paid either minimum wage or overtime

compensation. Simply stating that the defendant failed to pay all wages due, without stating

when or how the defendant failed to pay the required wages are “legal conclusions [which] do

not suffice” under the pleading standards of Twombly. Anderson v. Blockbuster, Inc., 2010 WL

1797249, at *3 (E.D. Cal. May 4, 2010).

        Furthermore, courts have found allegations similar to those in Plaintiffs’ Complaint to be

insufficient to meet the pleading standards required by Twombly and Iqbal. Regarding the

Plaintiffs’ FLSA minimum wage claim (Count VIII), simply alleging that Plaintiffs were not

paid any wage for certain hours worked, without providing at least an approximation of the hours

worked for which minimum wages were not received, is insufficient. Vierra v. Sage Dining

Servs., Inc., No. 8:10-cv-02267-T-33EAJ (M.D. Fla. Nov. 23, 2010) (dismissing plaintiff’s

FLSA minimum wage claim because the complaint’s allegations that she routinely performed off

the clock work, without alleging how many house she worked for which she did not receive

minimum wages, was insufficient); Jones v. Casey’s General Stores, 538 F. Supp. 2d 1094,

1102-03 (S.D. Iowa 2008) (finding plaintiff’s proposed amended complaint to be futile because

it lacked “a single factual allegation that would permit an inference” that the plaintiff had “a

right to relief above the speculative level.”). Similarly and with respect to Plaintiffs’ claims of

unpaid overtime (Count IX), allegations that the defendants had a system to control overtime by

requiring employees to work off the clock, without further factual detail, were found to be

“exactly the type of conclusory allegation[s] rejected by the Twombly court.” Mell v. GNC Corp.,

2010 WL 4668966, at *8 (W.D. Pa. Nov. 9, 2010) (dismissing plaintiff’s complaint).




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        The Plaintiffs here have failed to allege any facts that would tend to show the amount and

extent of any unpaid work and simply make conclusory allegations that they were denied full

payment required by the FLSA. Counts VIII and IX are devoid of the necessary factual

allegations and therefore should be dismissed for failure to state a claim.

        C.      Plaintiffs fail to allege knowledge of their purported FLSA complaints by
                Highland Woods sufficient to support a FLSA retaliation claim.

        In Count XIII, Plaintiffs attempt to claim they were wrongfully terminated in violation of

the FLSA’s anti-retaliation provisions after allegedly complaining about what they believed to be

wage and hour violations. In order to establish a prima facie case of retaliation, Plaintiffs must

allege sufficient facts showing that (1) the employee engaged in activity protected under the

FLSA, (2) the employee suffered adverse action by the employer, and (3) the employer’s adverse

action was causally connected to the employee’s protected activity. Wolf v. Coca-Cola Co., 200

F.3d 1337, 1342-43 (11th Cir. 2000).

        While it is true that even informal complaints to an employer of an FLSA violation can

constitute protected conduct, Kasten v. Saint-Gobain Performance Plastics, 131 S. Ct. 1325,

1329 (2011), Count XIII lacks any allegations that those making the alleged termination

decisions on behalf of Highland Woods were aware of any such informal complaints of FLSA

violations by Plaintiffs Diaz, De Jesus Alfaro, Jimenez, and Mendoza. Specifically, the

Complaint alleges that Ledesma complained to Highland Woods’ General Manager, Bill Clark

(“Clark”), on her behalf and on behalf of some other employees in the golf course maintenance

department. Complaint, ¶ 294. The Complaint goes on to state that Clark further inquired as to

which employees shared Ledesma’s complaints, but that “she told him that she did not know.”

Complaint, ¶ 295. It is clear from Plaintiffs’ own allegations that the only person aware of

anyone else besides Ledesma who purportedly shared in her complaints was Ledesma herself.


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Because there are no allegations that those responsible for the alleged adverse action(s)1 had any

knowledge of what were only informal complaints when Diaz, De Jesus Alfaro, Jimenez, and

Mendoza were allegedly retaliated against, Count XIII cannot stand.

VI.      LEDESMA’S CLAIMS FOR SEXUAL HARASSMENT IN VIOLATION OF
         TITLE VII AND THE FCRA (COUNTS I AND II) MUST BE DISMISSED FOR
         FAILURE TO STATE A CLAIM.

         In Counts I and II, Ledesma attempts to state claims for sexual harassment in violation of

Title VII and the FCRA. As set forth in Section IV of this Memorandum of Law, above,

Ledesma’s failure to properly exhaust the required administrative remedy prior to filing suit bars

any claims she attempts to bring under the FCRA. Even if that were not so, Count II fails to state

a claim as set forth below.

         Counts I and II should be decided in the same manner, as the FCRA was patterned after

Title VII and because decisions construing Title VII are applicable when considering FCRA

claims. Harper v. Blockbuster Entertainment Corp., 139 F.3d 1385, 1387 (11th Cir. 1998). In

order to establish a prima facie case of a hostile work environment based upon sexual

harassment, Ledesma must show:

                  (1) that she belongs to a protected group; (2) that she has been subject to
                  unwelcome sexual harassment, such as sexual advances, requests for
                  sexual favors, and other conduct of a sexual nature; (3) that the harassment
                  was based on her sex; (4) that the harassment was sufficiently severe or
                  pervasive to alter the terms and conditions of employment and create a

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  Additionally, not all of the adverse actions alleged by Plaintiffs constitute actionable conduct. Plaintiffs allege the
some of adverse actions taken against them include “being written up for numerous petty infractions.” Complaint, ¶
301. To be actionable, an adverse action must be “material” from the perspective of a reasonable employee.
Burlington Northern & Santa Fe Railway v. White, 548 U.S. 53, 68 (2006). The Supreme Court has made it clear
that “it is important to separate significant from trivial harms.” Id. Anti-retaliation provisions seek to prevent
employer actions that are likely to deter victims from complaining, and “normally petty slights, minor annoyances,
and simple lack of good manners will not create such deterrence.” Id. Being “written up” for an infraction of the
workplace rules, however “petty” Plaintiffs may believe such violation was, is one of those “minor annoyances” that
all employees must deal with from time-to-time. Such action does not constitute the type of materially adverse
action that can justify a FLSA retaliation claim and thus those allegations in Plaintiffs’ Complaint must be ignored
in determining whether Plaintiffs have stated a cause of action for retaliation under the FLSA. Only the alleged
terminations (which actually did not occur but must be accepted as true at this stage) could possibly constitute
actionable retaliation.

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                discriminatorily abusive working environment; and (5) that there is a basis
                for holding the employer liable.

Reeves v. C.H. Robinson Worldwide, Inc., 594 F.3d 798, 808 (11th Cir. 2010). Counts I and II of

the Complaint contain insufficient allegations to satisfy prongs two through four of that test.

        A.      Ledesma fails to allege that she was subjected to sexual harassment.

        The second prong of the test requires a showing that Ledesma was subjected to

unwelcome sexual harassment. As examples of the “harassment” Ledesma cites only what she

calls “crude” comments by her supervisor about a coffee product that allegedly increased sexual

performance, Complaint, ¶ 51, one comment by her supervisor about his sexual performance

with his own wife, Complaint, ¶ 52, and one alleged request by her supervisor to have Ledesma’s

daughter “dress sexy” in order to sell a coffee product, Complaint, ¶ 54.

        None of Ledesma’s allegations rise to the level of sexual harassment—Ledesma makes

no allegation that she was the recipient of any unwelcome sexual advances or requests for sexual

favors. Reeves, 594 F.3d at 808. As the Supreme Court has stated, Title VII is not meant to be a

general code of civility in the workplace. Faragher v. City of Boca Raton, 524 U.S. 775, 788

(1988). The “use of offensive language, gender-related jokes, and occasional teasing” are not

actionable conduct. Id. See also Webb-Edwards v. Orange County Sheriff’s Office, 525 F.3d

1013, 1027 (11th Cir. 2008) (comments that the employee “looked hot” and “should wear tighter

clothing” were not actionable); Mendoza v. Borden, Inc., 195 F.3d 1238, 1246 (11th Cir. 1999)

(staring at an employee’s groin area while gesturing and brushing against her was not

actionable); Black v. Zaring Homes, Inc., 104 F.3d 822, 823-24 (6th Cir. 1996) (comments that

an employee was dancing on tables at a biker bar over the weekend or suggesting that a land area

be named “Titsville” or “Twin Peaks” were not actionable); Baskerville v. Culligan Int.’l Co., 50

F.3d 428, 430-31 (7th Cir. 1995) (comments to an employee that the “pretty girls [should] run


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around naked” and gesturing with his hands in front of employee to simulate masturbation was

not actionable). Because Ledesma has failed to allege conduct that, even had it occurred, rises to

the level of unwelcome sexual harassment, Counts I and II must be dismissed.

        B.      Ledesma fails to provide factual support for the idea that any alleged
                harassment was based upon her sex.

        Likewise, the third prong requires a showing that the alleged harassment was based on

Ledesma’s sex. While Ledesma does allege that she was harassed because she was a woman,

Complaint, ¶¶ 112 and 126, she provides no factual support for that bare conclusion. Ledesma

does not allege that she was the only individual to whom similar comments were directed. She

does not allege that her supervisor did not describe his sexual performances with the male

employees or that he did not make the same comments about the effects of the coffee product he

was selling to other male employees. Nor are any of the alleged comments sex-specific, “which

is to say more degrading to women than men.” Baldwin v. Blue Cross/Blue Shield of Alabama,

480 F.3d 1287, 1302 (11th Cir. 2007) (explaining that an equal opportunity offender does not

create an actionable hostile work environment). Accordingly, Ledesma’s complaint is devoid of

any factual allegations that support her conclusion that she was harassed because of her sex and

Counts I and II must be dismissed.

        C.      Ledesma has alleged no facts showing severe or pervasive harassment.

        Further, in order to satisfy the fourth prong of test, Ledesma must show that “she suffered

a tangible employment action, which is a significant change in employment status such as firing

or reassignment with significantly different job responsibilities.” Brown v. Snow, 440 F.3d 1259,

1265 (11th Cir. 2006). Ledesma makes no such allegations in Counts I or II of the Complaint.

        Alternatively, Ledesma fails to show that the terms and conditions of her employment

were altered by severe and pervasive harassment. Courts look to four factors in this instance: “(1)


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the frequency of the conduct; (2) the severity of the conduct; (3) whether the conduct is

physically threatening or humiliating, or a mere offensive utterance; and (4) whether the conduct

unreasonably interferes with the employee’s job performance.” Mendoza, 195 F.3d at 1246.

        In Counts I and II of the Complaint, Ledesma only states a bare recitation of this element

of the cause of action—that she “considered the sexual harassment by HASKINS sufficiently

sever and/or pervasive enough to alter the conditions of her employment.” Complaint, ¶¶ 114

and 128. However, those counts of the Complaint lack any factual allegations which would allow

the Court to determine that such a conclusion is even plausible, which is the required pleading

standard after Twombly and Iqbal.

        None of Ledesma’s allegations come close to raising anything more than a potentially

offensive utterance; she alleges no conduct that was either physically threatening or humiliating.

For example, the Eleventh Circuit has found that comments about one’s sexuality—that the

employee “looked hot” and “should wear tighter clothing”—though “taunting and boorish,” is

not physically threatening or humiliating, Webb-Edwards, 525 F.3d at 1027, nor is repeatedly

staring at an employee’s groin area and rubbing against her conduct that creates an actionable

hostile work environment. Mendoza, 195 F.3d at 1246. Ledesma’s allegations are simply of

descriptions involving sexual overtones, which certainly is not actionable conduct.

        D.      Ledesma likewise has not alleged any alteration of the terms and conditions
                of her employment due to severe and pervasive harassment.

        Further, Ledesma does not allege one single way in which the terms and conditions of her

employment were purportedly affected by the complained-of conduct. None of Ledesma’s

allegations address any interference the alleged conduct created with her job performance.

Ledesma has not alleged that the purported harassment ever prevented her from performing any

of her job duties, or that it made it more difficult for her to do her job. Murphy v. City of


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Aventura, 616 F. Supp. 2d 1267, 1278-79 (S.D. Fla. 2009) (holding that the complained of sexual

harassment did not create a hostile work environment that altered the terms and conditions of

plaintiff’s employment when she was unable to show any time away from the job complaining

about the incidents or that the incidents actually interfered with her job performance). As such, it

is clear that Ledesma has failed to allege sufficient facts to show that the complained of conduct

was sufficiently severe or pervasive to alter the terms and conditions of her employment, as is

required to state a claim for sexual harassment under Title VII and the FCRA. Accordingly,

Counts I and II must be dismissed.

VII.    PLAINTIFFS’ TITLE VII, FCRA, AND SECTION 1981 HOSTILE WORK
        ENVIRONMENT CLAIMS (COUNTS V THROUGH VII) LACK SUFFICIENT
        FACTUAL ALLEGATIONS AND MUST BE DISMISSED.

        Just as Counts I and II must be dismissed for failing to meet the pleading standards now

required by Twombly and Iqbal, so must Counts V, VI, and VII, in which Plaintiffs attempt to

plead a hostile work environment claim under Title VII, the FCRA, and 42 U.S.C. § 1981,

respectively. To plead that claim, each Plaintiff must allege that he: (1) belongs to a protected

group; (2) was subjected to unwelcome harassment; (3) the harassment was based on his

membership in the protected group; (4) it was severe or pervasive enough to alter the terms and

conditions of employment and create a hostile or abusive working environment; and (5) the

employer is responsible for that environment under a theory of either vicarious or direct liability.

Edwards v. Prime, Inc., 602 F.3d 1276, 1300 (11th Cir. 2010), citing Bryant v. Jones, 575 F.3d

1281, 1296 (11th Cir. 2009); see also Shields v. Fort James Corp., 305 F.3d 1280, 1282 & n. 2

(11th Cir. 2002) (noting that Title VII and § 1981 hostile work environment claims have the

same elements and are subject to the same analytical framework); Harper, 139 F.3d at 1387

(decisions construing Title VII are applicable when considering FCRA claims).



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        However, “the tenet that a court must accept as true all of the allegations contained in a

complaint is inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Iqbal, 129 S. Ct. at 1949.

Introductory conclusions cannot take the place of factual allegations in stating a plausible claim

for relief. Edwards, 602 F.3d at 1300.

        A.      Plaintiffs fail to allege facts showing that any harassment was based upon
                their membership in a protected class.

        Although Plaintiffs allege that they were “subjected to harassment on the basis of their

Hispanic” national origin, Complaint, ¶ 158, and race, Complaint, ¶ 190, and that they were less

favorably treated than non-Hispanic employees, Complaint, ¶¶ 159, 160, 191 and 192, Plaintiffs

make no plausible allegations that they were treated differently because of their race. See

Edwards, 602 F.3d at 1301 (finding that the fact that the plaintiff was Caucasian and that he

alleged he was threatened, assaulted and shunned by his Hispanic and Latino co-workers, which

created a hostile work environment, does not plausibly allege that he was harassed because of his

race and dismissing the amended complaint for failing to state a claim for relief under § 1981).

As in Edwards, the factual allegations of Count VII of Plaintiffs’ Complaint are not “enough to

raise a right to relief above the speculative level” and should be dismissed. Twombly, 550 U.S. at

555.

        Plaintiffs in this case fail to identify even one non-Hispanic, similarly situated individual

that was treated more favorably, which is fatal to their claim that they were harassed because of

their race. Jackson v. Bellsouth Telecommunications, 372 F.3d 1250, 1274 (11th Cir. 2004)

(upholding the trial court’s dismissal of plaintiffs’ § 1981 race discrimination claim because,

even under the pre-Twombly and Iqbal pleading standards, plaintiffs’ failure to identify “any

specific nonminority employees of BellSouth who were treated differently in other similar cases”


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was fatal to their claim of intentional racial discrimination); see also St. Hilaire v. The Pep Boys

- Manny, Moe and Jack, 73 F. Supp. 2d 1366, 1372 (S.D. Fla. 1999) (holding that plaintiff failed

to establish a prima facie case of § 1981 race discrimination because she failed to allege any

facts showing that similarly situated employees not within her protected class were treated more

favorably). Furthermore, Plaintiffs simply cannot identify any such individual, as every one of

the golf course maintenance employees during the relevant time period who were similarly

situated (i.e. with the same or similar job responsibilities) were also Hispanic. Declaration of

Clark, ¶ 9. For that reason, it would be futile to allow Plaintiffs leave to amend Counts V through

VII of the Complaint.

        B.      Plaintiffs’ allegations fall far short of stating a claim that any alleged
                harassment was severe or pervasive and altered the terms and conditions of
                their employment.

        In addition to failing to allege sufficient facts supporting the third prong of the test—that

the alleged harassment was based upon Plaintiffs’ membership in a protected class—Plaintiffs

also fail to allege facts in Counts V, VI, and VII showing that the alleged harassment was severe

or pervasive enough to alter the terms and conditions of their employment. These counts of the

Complaint do not relate to Plaintiffs’ allegations of wrongful termination; instead Counts V

through VII solely focus on the alleged hostile work environment claims. However, Plaintiffs fail

to identify any facts to support the idea that the alleged harassment in any way actually interfered

with their job performance. Murphy, 616 F. Supp. 2d at 1278-79 (holding that the terms and

conditions of plaintiff’s employment were not altered when she was unable to show any time

away from the job complaining about the incidents or that the incidents actually interfered with

her job performance); Fulwood v. Capital One Auto Finance, Inc., No. 8:09-cv-378-T-30EAJ at

*12-13 (M.D. Fla. March 22, 2011) (finding that the use of the word “nigger” and comments that



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Dominicans are “dumb” and “dirty,” while they may have been clearly offensive were not so

objectively humiliating as to be “severe”).

        Counts V through VII contain only conclusory allegations of severe and pervasive

discrimination. Plaintiffs do not offer specific factual allegations that would allow this Court to

determine that any potentially offensive comments based upon their race were severe or

pervasive enough to alter the terms and conditions of their employment. Because the non-

conclusory allegations of Counts V, VI, and VII are insufficient, those counts must be dismissed.

VIII. PLAINTIFFS MAURICIO DIAZ, MANUEL DE JESUS ALFARO, JUAN
      JIMENEZ, AND DANIEL MENDOZA FAIL TO STATE A CLAIM FOR
      RETALIATION (COUNTS X, XI, XII, AND XIII) BECAUSE THEY CANNOT
      ALLEGE THAT THE DECISION MAKER HAD KNOWLEDGE OF THEIR
      ALLEGED PROTECTED CONDUCT.

        In Counts X, XI, XII, and XIII, the Plaintiffs allege they were terminated in retaliation for

engaging in protected conduct in violation of Title VII (Count X), the FCRA (Count XI), 42

U.S.C. § 1981 (Count XII), and the FLSA (Count XIII). Plaintiffs Diaz, De Jesus Alfaro,

Jimenez, and Mendoza fail to state a claim in each of those counts because they fail to allege

sufficient facts which would allow this Court to determine that any actionable retaliation was

plausible.

        In order to state a claim for retaliatory discharge, the Plaintiffs must allege that: (1) they

engaged in statutorily protected conduct; (2) they suffered adverse employment action; and

(3) there is a causal connection between the protected conduct and the adverse employment

action. Gupta v. Florida Bd. of Regents, 212 F.3d 571, 587 (11th Cir. 2000) (Title VII); Rice-

Lamar v. City of Fort Lauderdale, 232 F.3d 836, 842 n. 11 (11th Cir. 2000) (elements of a claim

under 42 U.S.C. § 1981 are the same as a Title VII claim); Harper, 139 F.3d at 1387 (FCRA

claims should be construed according to the same framework as Title VII claims); Wolf v. Coca-

Cola Co., 200 F.3d 1337, 1342-43 (11th Cir. 2000) (FLSA). “At a minimum, a plaintiff must

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generally establish that the employer was actually aware of the protected expression at the time it

took adverse employment action.” Goldsmith v. City of Atmore, 996 F.2d 1155, 1163 (11th Cir.

1993) (citations omitted).

        A.      Plaintiffs fail to allege sufficient facts establishing close temporal proximity
                between the protected activity and the alleged retaliatory conduct.

        In this case, the Plaintiffs (excluding Ledesma) allege that they engaged in protected

conduct by complaining to their immediate supervisor, Ledesma, about the alleged harassment

they believed to be in violation of Title VII, Complaint, ¶ 226, the FCRA, Complaint, ¶ 247, and

§ 1981, Complaint, ¶ 271, as well as the alleged overtime issues in violation of the FLSA,

complaint, ¶ 294. Ledesma claims to have brought the substance of the complaints to the

attention of Highland Woods’ General Manager during a meeting on July 7, 2010. Complaint,

¶¶ 226, 247, 271, and 294. Thus, each of the Plaintiffs (excluding Ledesma) claim to have

engaged in protected activity at some unstated time prior to July 7, 2010. Plaintiffs must make

clear when their statutorily protected activity occurred. The allegations of the Complaint fail to

establish a timeline as to when the alleged protected conduct of the Plaintiffs (excluding

Ledesma) occurred. Thus, it is difficult, if not impossible, for this Court to determine if an

inference can be drawn between the time between when the parties allegedly complained to

Ledesma and when the alleged adverse actions took place to satisfy the third element that must

be pled, i.e. a causal connection between the two. Such factual pleading is necessary in order to

satisfy the pleading standard required by Twombly and Iqbal.

        B.      The Complaint clearly shows that any decision makers were unaware of the
                alleged protected conduct by Plaintiffs other than Ledesma.

        Furthermore, Plaintiffs have not alleged sufficient facts to allow this Court to determine

that there is a plausible causal connection between the alleged protected activity and the adverse



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employment action because they have not stated any facts to support the essential element that

the decision maker was even aware of the protected conduct. A lack of knowledge of protected

conduct negates any inference that can be drawn from the close temporal proximity between

protected conduct and adverse action. Clover v. Total System Services, Inc., 176 F.3d 1346,

1355-56 (11th Cir. 1999) (holding that the plaintiff failed to present evidence to establish that the

decision maker was aware of her protected conduct); McCollum v. Bolger, 794 F.2d 602, 610-11

(11th Cir. 1986) (holding that the plaintiff failed to establish a prima facie case because the

decision maker was unaware of the protected conduct); see also Brungart v. BellSouth

Telecommunications, 231 F.3d 791, 799 (11th Cir. 2000) (stating that the requirement that the

plaintiff show that the corporate agent who took the adverse action was aware of the protected

expression “rests upon common sense” and holding that the plaintiff failed to establish a prima

facie case of retaliation).

        In this case, Plaintiffs’ own admissions in the Complaint make it clear that the decision

makers at Highland Woods were wholly unaware of the alleged protected conduct by Plaintiffs

Diaz, De Jesus Alfaro, Jimenez, and Mendoza. First, the Complaint does not identify the

decision makers, but may imply that the decision makers were either Ledesma’s supervisor, Billy

Huskins (“Huskins”), or Clark, Highland Woods’ General Manager. The Complaint contains

allegations that Ledesma brought the complaints of the other Plaintiffs to Clark’s attention

during her July 7, 2010 meeting. Complaint, ¶¶ 226, 247, 271, and 294. However, the Plaintiffs

also clearly admit in the Complaint that when Clark allegedly asked which employees shared in

Ledesma’s complaints, she refused to provide that information to Clark. Complaint, ¶¶ 70-71,

and 297 (for example, Ledesma “told [Clark] that she did not know.”). Without any knowledge

of the fact that Plaintiffs Diaz, De Jesus Alfaro, Jiminez, and Mendoza had voiced any



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complaints, it is impossible for this Court to determine that any adverse actions allegedly taken

against those individuals were plausibly retaliatory in nature. Furthermore, to the extent that the

Complaint alleges adverse actions by Huskins, there are no factual allegations to support the idea

that Huskins had any knowledge of any alleged complaints. Finally, there is no factual support

for the conclusory statement in the Complaint that the other Plaintiffs were “known to be closely

associated with Ledesma.” Such an allegation is also contradicted by Ledesma’s refusal to name

names when pressed by Clark.

        To the extent De Jesus Alfaro intends to rely on the fact that he filed a charge with the

EEOC on August 4, 2010 and was allegedly terminated several days later as evidence of the

required causal connection, such allegation is again insufficient to support his claim of

retaliation. Specifically, De Jesus Alfaro states no facts which would tend to show that Highland

Woods had any knowledge of his EEOC Charge. In point of fact, the Charge was mailed by the

EEOC to Highland Woods on August 12, 2010, after De Jesus Alfaro’s alleged termination on

August 9, 2010. Declaration of Clark, ¶ 14; Complaint, ¶ 97. Clearly, neither Clark nor Huskins

had knowledge of the EEOC charge prior to the time they received notification from the EEOC

of the existence of the charge. Any allegation to the contrary would be unsupported by plausible

fact.

        Accordingly, Counts X, XI, XII, and XIII must be dismissed as to Plaintiffs Diaz, De

Jesus Alfaro, Jiminez, and Mendoza.

IX.     LEDESMA’S CLAIMS OF RETALIATION (COUNTS III, IV, X, XI, AND XII)
        MUST BE DISMISSED BECAUSE SHE CANNOT ALLEGE A GOOD FAITH
        REASONABLE BELIEF THAT HIGHLAND WOODS ENGAGED IN
        UNLAWFUL PRACTICES.

        As set forth above, the factual allegations upon which plaintiff relies are insufficient to

state a claim for discrimination. Although it is theoretically possible for a plaintiff to state a


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claim for retaliation based upon opposition to conduct that is not actually unlawful, the plaintiff

must have a “good faith, reasonable belief that the employer was engaged in unlawful

employment practices.” Butler v. Alabama Dept. of Transp., 536 F.3d 1209, 1213 (11th Cir.

2008). That standard has both a subjective and an objective component. Id. Thus, the allegations

must not only state that the plaintiff had an honest and bona fide belief, but the plaintiff’s

allegations must also indicate that the belief, even if mistaken, was objectively reasonable. Id.

The reasonableness is measured against existing substantive law. Van Portfliet v. H & R Block

Mortg. Corp., 290 F. App’x 301, 303 (11th Cir. 2008).

        A.      Ledesma’s allegations of sexual harassment were not objectively reasonable.

        For the reasons explained in more detail in Section VI, A through C, of this

Memorandum of Law, above, the allegations Ledesma asserts to support her claim of sexual

harassment in violation of Title VII and the FCRA are wholly insufficient under existing

substantive law. Edwards, 525 F.3d at 1027 (comments about how “hot” the employee looked

and how she should dress were not actionable sexual harassment); Mendoza, 195 F.3d at 1246

(staring at an employee’s groin area while gesturing and brushing against her was not conduct

that rose to the level of sexual harassment). The conduct alleged by Ledesma—that her

supervisor asked her to sell aphrodisiac coffee and generally describing its possible effects—falls

far short of actionable conduct under existing law.

        Ledesma has thus failed to assert any factual allegations showing an objectively

reasonable belief of Highland Woods’ unlawful conduct to support her retaliation claim under

Title VII or the FCRA in Counts III and IV, respectively. Counts III and IV must be dismissed.

Scribner v. Collier Co., No. 2:10-cv-728-FtM-29DNF at *11-12 (M.D. Fla. July 14, 2011)

(dismissing plaintiff’s complaint because his claims of retaliation were not based on an



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objectively reasonable belief that the employer’s actions constituted an unlawful employment

practice).

        B.      Ledesma’s allegations of race and/or national origin discrimination were not
                objectively reasonable.

        Likewise, Ledesma’s allegations purportedly supporting her claim of a hostile work

environment discrimination based upon race and/or national origin in violation of Title VII, the

FCRA, and § 1981 are insufficient under existing law and thus do not give rise to the necessary

objectively reasonable belief of unlawful conduct to support her retaliation claim. As set forth in

more detail in Section VII of this Memorandum of Law, above, Ledesma did not complain about

any adverse employment actions. Her allegations were isolated to a purported statement that

Hispanics can tolerate the heat better and did not need water breaks. Complaint, ¶ 44. Such

allegations do not constitute adverse employment actions. Additionally, the conduct alleged is

not so severe or pervasive to have altered the terms and conditions of Ledesma’s employment as

a matter of law. Murphy, 616 F. Supp. 2d at 1278-79. Furthermore, Ledesma does not (and

cannot) identify any similarly situated non-Hispanic individual who was treated more favorably.

Jackson, 372 F.3d at 1274; (finding no intentional discrimination where plaintiff cannot identify

any non-minority treated more favorably); St. Hilaire, 73 F. Supp. 2d at 1372 (same).

        Because of these failings, it would be impossible for anyone to reasonably conclude that

there had been actionable discrimination. Without any factual support showing that it was

reasonable to conclude that discrimination was occurring, no claims of retaliation in violation of

Title VII, the FCRA, or § 1981 can stand. Scribner, No. 2:10-cv-728-FtM-29DNF at *11-12.

Therefore, Ledesma’s claims in Counts X, XI, and XII must be dismissed.




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X.      CONCLUSION

        In conclusion, Highland Woods has presented multiple independent grounds upon which

this Court should dismiss each of Plaintiffs’ claims. Each of the Plaintiffs failed to properly

exhaust their administrative remedies prior to bringing suit for claims under the FCRA. One

Plaintiff Diaz, was not an employee of Highland Woods and thus all claims he brings must be

dismissed. Each of the Plaintiffs’ hostile work environment claims, FLSA claims, and all

retaliation claims fail to allege sufficient facts to state a claim under the pleading standards now

required by Twombly and Iqbal. As Highland Woods has shown throughout its Memorandum of

Law supporting this Motion, amendment of the Complaint would be futile. Accordingly, all

counts of the Complaint should be dismissed with prejudice.

        WHEREFORE, Defendant, HIGHLAND WOODS GOLF & COUNTRY CLUB, INC.,

respectfully requests that this Honorable Court enter an Order dismissing the Complaint and

granting such further relief as the Court deems appropriate.

        Dated this 9th day of September 2011.

                                                   QUARLES & BRADY LLP

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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 9, 2011, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day on all counsel of record or pro se parties identified on the Service List set

forth below in the manner specified, either via transmission of Notices of Electronic Filing

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